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IN THE UNITED STATES DISTRICT COUK%"M? g/ \{:D-C`.

   

 

FoR THE WESTERN DISTRICT oF TENNESs_,-EE, 43 3_. 09
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MARY BETH FLOWERS, )
)
Plaintiff, )
)

v. ) No. 1-04-1287-T/An
)
MEMPHIS SLEEP LABS, INC., )
d/b/a MID-SOUTH SLEEP DISORDER )
CLINIC, )
)
Defendant. )

 

ORDER GRANTING DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

 

Plaintiff Mary Beth Flowers has filed this action against Memphis Sleep Labs, Inc., d/b/a
Mid-South Sleep Disorder Clinic, alleging disability discrimination in violation of Title VH of
the Civil Rights Act of 1964, 42 U.S.C. §§ 2000e et seq., and the Americans With Disabilities
Act, 42 U.S.C. §§ 12101 et Seq. More specifically, plaintiff alleges that defendant failed to
reasonably accommodate her by denying her employment because of her disability, in violation
of 42 U.S.C. § 121 lZ(a). Defendant filed a motion for summary judgment and plaintiff has failed
to respond. F or the reasons set forth below, defendant’s motion is GRANTED.

Motions for summary judgment are governed by Rule 56 of the Federal Rules of Civil
Procedure. To prevail on a motion for summary judgment, the moving party has the burden of

showing the “absence of a genuine issue of material fact as to an essential element of the

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nonmovant's case.” Street v. J.C. Bradford & Co., 886 F.2d 1472, 1479 (6th Cir. 1989). The
moving party may support the motion with affidavits or other proof or by exposing the lack of
evidence on an issue for which the nonmoving party Will bear the burden of proof at trial.
Celotex Com. v. Catrett, 477 U.S. 317, 324 (1986). The opposing party may not rest upon the
pleadings but, “by affidavits or as otherwise provided in this rule, must set forth specific facts
showing that there is a genuine issue for trial.” Fed. R. Civ. P. 56(e).

“lf the defendant . . . moves for summary judgment . . . based on the lack of proof of a
material fact, . . . [t]he mere existence of a scintilla of evidence in support of the plaintiffs
position will be insufficient; there must be evidence on which the jury could reasonably find for
the plaintiff.” Anderson v. Libertv Lobbv. Inc.. 477 U.S. 242, 252 (1986). The court's function is
not to weigh the evidence, judge credibility, or in any way determine the truth of the matter,
however. Anderson, 477 U.S. at 249. Rather, “[t]he inquiry on a summary judgment motion . . .
is . . . ‘whether the evidence presents a sufficient disagreement to require submission to a [trier of
fact] or whether it is so one-sided that one party must prevail as a matter of law.”’ §t&et, 886
F.2d at 1479 (quoting Anderson, 477 U.S. at 251-52). Doubts as to the existence of a genuine
issue for trial are resolved against the moving party. Adickes v. S. H. Kress & Co.. 398 U.S. 144,
158-59 (1970).

If a party does not respond to a motion for summary judgment, the Federal Rules of Civil
Procedure provide that “summary judgment, if appropriate, shall be entered against him.” Fed. R.
Civ. P. 56(e). The fact that plaintiff did not respond does not require granting defendant’s
motion. l-Iowever, if the allegations of the complaint are contravened by defendant’s affidavits

and defendant is entitled to judgment as a matter of law on those facts, then Summary judgment

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is appropriate Smith v. Hudson, 600 F.2d 60, 65 (6th Cir. 1979).

Plaintiff alleges that Defendant Memphis Sleep Labs, Inc. is a corporation that operates
and does business in Madison County, Tennessee, under the trade name Mid-South Sleep
Disorder Clinic. Complaint, 11 2. Plaintiff further contends that she was an employee of the
defendant at all times relevant to the litigation and that defendant is an employer as defined by
the Americans with Disabilities Act under 42 U.S.C. § 121 11(5)(A), in that the defendant is
engaged in an industry affecting commerce and has fifteen or more employees Complaint, 11 7-8.
She claims that the defendant intentionally discriminated against her by terminating her because
of her disability and refusing to provide employment despite her condition only requiring
minimal accommodation Complaint, 11 9. Plaintiff alleges that the discrimination has caused her
loss of earnings, loss of work experience, and emotional and mental damages Complaint, 11 ll.

Defendant seeks summary judgment on the grounds that: (l) plaintiff has misnamed the
defendant; and (2) Louviere Enterprises, Inc., d/b/a Mid-South Sleep Disorder Clinic, plaintiffs
actual employer, is not an employer Within the definition of the Americans with Disabilities Act.
1. Plaintiff Misnamed the Defendant.

In response to plaintiffs allegations, defendant submitted proof that Memphis Sleep
Labs, Inc. is a corporation that operates and does business in Shelby County, Tennessee, and that
Mid-South Sleep Disorder Clinic is actually the trade name of Louviere Enterprises, Inc. which
operates in Madison County, Tennessee. Louviere Aff., 11 4. Moreover, both parties have now
stipulated that Louviere Enterprises, Inc. was plaintiffs employer during all times relevant to the
litigation Louviere Aff., jl 4; Flowers Aff., jj 2. Therefore, plaintiff has filed suit against the

wrong party and the defendant is entitled to summary judgment on this issue.

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2. Plaintiffs Employer, Louviere Enterprises, Inc., d/b/a Mid-South Sleep Disorder Clinic,
is Not an Employer as Defined by the Americans with Disabilities Act.

The Americans with Disabilities Act prohibits an employer from discriminating against a
qualified employee because of his or her disability 42 U.S.C. § 12112(a). An employer is
defined as an entity that engages “in an industry affecting commerce who has 15 or more
employees for each working day in each of 20 or more calendar weeks in the current or preceding
calendar year.” _I_cL § 121 l 1(5)(A).

Louviere Enterprises, lnc., d/b/a Mid-South Sleep Disorder Clinic has never had more
than fifteen employees Louviere Aff., 11 5. In fact, it never had more than five employees While
plaintiff was employed. Louviere Aff., 11 4; Exhibit l. Plaintiff has not brought forth any evidence
to create a genuine issue of fact on this issue. Therefore, Louviere Enterprises, Inc., d/b/a Mid-
South Sleep Disorders Clinic is not an employer liable under the Americans With Disabilities Act
and is entitled to summary judgment on this issue.

For the foregoing reasons, the Court finds that there are no genuine issues of material fact
and that defendant is entitled to judgment as a matter of law on plaintiffs claim of disability
discrimination Therefore, the motion for summary judgment is GRANTED. The clerk is directed
to enter judgment accordingly

IT IS SO ORDERED.

%A.M

JAME . TODD
UNIT D STATES DISTRICT JUDGE

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DISTRICT COURT- 4 WESTERN DISTRICT OF TENNESSEE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 25 in
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Honorable .l ames Todd
US DISTRICT COURT

